
PER CURIAM.
This appeal arises from the trial court’s denial of appellant’s motion for new trial. We reverse and remand for further proceedings because the trial court failed to address the alleged grounds pursuant to rule 3.600(a)(3), Florida Rules of Criminal Procedure. On remand, the trial court should determine whether appellant established that he discovered new and material evidence, to wit: evidence supporting a defense of mental incapacity, which, if introduced at the trial would probably have changed the verdict, and which the defendant could not with reasonable diligence have discovered and produced at the trial. Rule 3.600(a)(3), Fla. R.Crim.P.
BOOTH, MINER and MICKLE, JJ., concur.
